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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               Case No.:


  DAVID WALTON, individually and on
  behalf of all others similarly situated,

         Plaintiff,                               Removed from the Circuit Court
                                                  of Miami-Dade County, Florida
       vs.                                        CASE NO. 2022-007176-CA-01


  CEREBRAL, INC.,

         Defendant.
                                             /


                           DEFENDANT’S NOTICE OF REMOVAL

        Defendant Cerebral Inc. (“Cerebral”), by and through its undersigned counsel, hereby

 gives notice pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, and in accordance with 28 U.S.C.

 §§ 1332 and 1711, of the removal of this action from the Circuit Court of the Eleventh Judicial

 Circuit in and for Miami-Dade County, Florida, bearing the Case Number 2022-007176-CA-01,

 to the United States District Court for the Southern District of Florida based on the following:

                                   TIMELINESS OF REMOVAL

        1.      On or about April 19, 2022, Plaintiff David Walton (“Plaintiff”) filed a Complaint

 against Cerebral in the Circuit Court of Miami-Dade County, Florida, Case No. 2022-007176-

 CA-01 (the “Action”).

        2.      On or about April 21, 2022, Plaintiff filed a First Amended Class Action

 Complaint (“FAC”). A true and correct copy of the FAC and Summons is attached as Exhibit A.

        3.      On April 27, 2022, Cerebral was served with the FAC. See Ex. A.
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        4.        The timing of this Notice of Removal is proper under, under 28 U.S.C. §

 1446(b)(1), because it is filed within thirty (30) days of Cerebral’s receipt of the Complaint, as

 calculated according to the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 6(a)(1).

                                    GROUNDS FOR REMOVAL

                                    Federal Question Jurisdiction

        5.        Under 28 U.S.C. § 1331, district courts “have original jurisdiction of all civil

 actions arising under the Constitution, laws, or treaties of the United States.”

        6.        The action arises under the law of the United States because Plaintiff is asserting

 claims under the Federal Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

 (“TCPA”). Specifically, Plaintiff’s second and third causes of action allege TCPA violations.

        7.        Accordingly, because Plaintiff has asserted claims “arising under the … laws… of

 the United States,” this Court has original jurisdiction over this action and removal is proper. 28

 U.S.C. § 1331.

        8.        Under 28 U.S.C. § 1441(a), “[e]xcept as otherwise expressly provided by Act of

 Congress, any civil action brought in a State court of which the district courts of the United

 States have original jurisdiction, may be removed by the defendant or the defendants, to the

 district court of the United States for the district and division embracing the place where such

 action is pending.”

        9.        This Court “embraces” the place where the State Court Action is pending, which

 is the Circuit Court for the 11th Judicial Circuit for Miami-Dade County, Florida. The action

 may therefore properly be removed to the Miami Division of this Court.




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                                     Supplemental Jurisdiction

        10.     The Court has supplemental jurisdiction over Plaintiff’s claims brought under the

 Florida Telephone Solicitation Act, Fla. Stat. § 501.059 (“FTSA”).

        11.     When a defendant removes a lawsuit that joins both federal and state law claims,

 the district court shall exercise supplemental jurisdiction over the state law claims if those claims

 “form part of the same case or controversy.” 28 U.S.C. § 1367(a). The “case or controversy”

 requirement under 28 U.S.C. § 1367(a) confers supplemental jurisdiction over all state “claims

 which arise out of a common nucleus of operative fact with a substantial federal claim.” Lucero

 v. Trosch, 121 F.3d 591, 597 (11th Cir. 1997).

        12.     Here, Plaintiff’s FTSA claims arise from the same set of factual allegations, the

 alleged telephone solicitations, pled in support of his federal TCPA claims. Thus, the state law

 claim and federal law claims in this case arise out of a common nucleus of operative facts.

        13.     Accordingly, this Court has supplemental jurisdiction over Plaintiff’s state law

 claim pursuant to 28 U.S.C. § 1367(a), and this action is removable in its entirety.

                                 Class Action Fairness Act of 2005

        14.     This Court also has subject matter jurisdiction over this action pursuant to the

 Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §§ 1332(d) and 1441(b) because (a) at

 least one member of the plaintiff class is a citizen of a different state than Cerebral; and (b) the

 amount in controversy exceeds the jurisdictional minimum of $5,000,000. See 28 U.SC. §§

 1332(d)(2), 1441(b).

        15.     CAFA applies “to any class action before or after the entry of a class certification

 order by the court with respect to that action.” 28 U.S.C. § 1332(d)(8). This case is a putative

 “class action” under CAFA because it was brought under a state statute or rule, namely Florida



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 Rule of Civil Procedure 1.220, authorizing an action to be brought by one or more representative

 persons as a class action. See 28 U.S.C. § 1332(d)(1)(B); see also Ex. A, ¶¶ 38-47.

        16.     In the FAC, Plaintiff asserts that Cerebral “engages in telephonic sales calls to

 consumers without having secured prior express written consent” and “without providing the

 required seller identification information” in violation of the FTSA and TCPA. Ex. A, ¶ 2.

        17.     Plaintiff asserts his FTSA and TCPA causes of action on behalf of himself and a

 putative class of similarly situated individuals. Specifically, Plaintiff alleges he “brings this

 lawsuit as a class action on behalf of the following two classes:”

        FTSA Class: All persons in Florida who, (1) were sent a telephonic
        sales call regarding Defendant’s property, goods, and/or services,
        (2) using the same equipment or type of equipment utilized to call
        Plaintiff.

        Seller Identification Class: All persons within the United States
        who, within the four years prior to the filing of this Complaint
        through the date of class certification, (1) received two or more
        text messages within any 12-month period, (2) regarding
        Defendant’s property, goods, and/or services, (3) to said
        person’s residential telephone number, (4) that did not disclose
        the name of the individual caller, the name of the person or entity
        on whose behalf the call is being made, or a telephone number or
        address at which the person or entity may be contacted.

        Ex. A, ¶ 38.

        18.     On behalf of himself and the putative class, Plaintiff seeks declaratory and

 injunctive relief and “and award of statutory damages for Plaintiff and each member of the Class

 as permitted under the TCPA and FTSA.” Id. Prayer for Relief, a-e.

        19.     Under CAFA, federal courts have original jurisdiction over class actions where

 the amount in controversy exceeds $5 million in the aggregate for the entire class, exclusive of

 interest and costs; the putative class action contains at least 100 members; and any member of




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 the putative class is a citizen of a state different from that of any defendant. See 28 U.S.C. §§

 1332(d)(2), (d)(5)(B), and (d)(6).

        20.     Cerebral denies any liability as to Plaintiff’s individual claims and as to the claims

 of the putative class members. Cerebral expressly reserves all of its rights, including, but not

 limited to, its right to file motions to compel arbitration and motions challenging the pleadings.

 However, for purposes of meeting the jurisdictional requirements for removal only, Cerebral

 submits on a good-faith basis that this action satisfies all requirements for federal jurisdiction

 under CAFA because, as set forth below, the allegations in the FAC along with Cerebral’s

 submissions in support of this Notice of Removal identify a putative class of more than 100

 members, establish the minimum diversity of citizenship required under CAFA, and put in

 controversy more than $5 million in the aggregate for the entire class, exclusive of interest and

 costs. See 28 U.S.C. §§ 1332(d)(2), (d)(5)(B), and (d)(6).

         A.     Diversity Of Citizenship

        21.     The minimum diversity of citizenship criterion under CAFA is met if a plaintiff or

 “any member” of the putative class “is a citizen of a State different from any defendant.” 28

 U.S.C. § 1332(d)(2)(A).

        22.     Upon information and belief and as alleged by Plaintiff, at the time Plaintiff

 commenced this class action, and at all times since, Plaintiff was and is “a citizen and resident of

 Miami-Dade County, Florida.” See Ex. A, ¶ 5.

        23.     Plaintiff further alleges that one of the putative classes consists of “[a]ll persons in

 Florida” who received certain messages. Ex. A, ¶ 38. The other putative class consists of “[a]ll

 persons within the United States” who received certain messages. Id. Residence is an essential

 element of citizenship for purposes of establishing diversity jurisdiction. See Travaglio v. Am.



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 Exp. Co., 735 F.3d 1266, 1269 (11th Cir. 2013) (citizenship in a state “requires both residence in

 a state and an intention to remain there indefinitely”) (internal quotation marks and citation

 omitted). Thus, it is reasonable to infer that many of the putative class members are citizens of

 Florida.

         24.        At the time Plaintiff commenced this class action, and at all times since, Cerebral

 was and is a domestic corporation organized and existing under the laws of the State of Delaware

 with its principal place of business in the State of California. See Exhibit B, Declaration of

 Sharon Wu, ¶ 3. Cerebral is thus a citizen of both Delaware and California. See 28 U.S.C. §

 1332(c)(1) (“[A] corporation shall be deemed to be a citizen of every State and foreign state by

 which it has been incorporated and of the State or foreign state where it has its principal place of

 business ....”).

         25.        Accordingly, for purposes of diversity jurisdiction at least one member of the

 plaintiff class is a citizen of a different state than Cerebral. See 28 U.S.C. § 1332(d)(2)(A).

         B.         Putative Class of More Than 100 Members

         26.        In the FAC, Plaintiff alleges violation of FTSA and TCPA on behalf of himself

 and a putative class of “at least 100” consumers who received telephonic sales calls from

 Cerebral. See Ex. A, ¶¶ 40, 41. Though the precise numbers are “unknown” to Plaintiff, he

 alleges that the number of putative class members “can be ascertained . . . from [Cerebral’s] call

 records.” Id. at 41.

         27.        Based on Cerebral’s records, since January 2020, Cerebral has sent text messages

 to at least 100,000 customers located in Florida, with the number of customers in the United

 States that received text messages from Cerebral far exceeding that amount. See Ex. B, ¶ 4.




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        28.     Accordingly, while Cerebral denies that class treatment is permissible or

 appropriate, each putative class plainly consists of more than 100 members, based on the FAC’s

 allegations and Cerebral’s records.

        C.      Amount In Controversy Requirement

        29.     Although Cerebral denies that Plaintiff’s claims have any merit and disputes that

 Plaintiff is entitled to any of the relief sought in the FAC, Cerebral avers, for the purposes of

 meeting the jurisdictional requirements for removal only, that the amount in controversy exceeds

 $5 million.

        30.     Courts are not limited to the four corners of the Complaint when determining the

 amount in controversy. “If the jurisdictional amount is not facially apparent from the complaint,

 the court should look to the notice of removal and may require evidence relevant to

 the amount in controversy at the time the case was removed.” Pretka v. Kolter City Plaza II, Inc.,

 608 F.3d 744, 754 (11th Cir. 2010) (quoting Williams v. Best Buy Co., 269 F.3d 1316, 1319

 (11th Cir. 2001)) (holding that district court erred in rejecting defendant’s declaration in support

 of notice of removal evidencing the amount in controversy exceeded CAFA’s $5 million

 threshold).

        31.     Plaintiff does not claim any specific amount in total damages, but avers that each

 member of the putative class is entitled to at least $500.00 in statutory liquidated damages. See

 Ex. A, ¶¶ 55, 61.

        32.     As set forth above, Cerebral sent text messages to at least 100,000 customers

 located in Florida, with the number of customers in the United States that received text messages

 even higher. See Ex. B, ¶ 4.




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         33.    Without admitting the veracity of Plaintiff’s allegations or the propriety of class

 treatment in this Action, a reasonable and commonsense reading of the Complaint, particularly

 the amount it claims each class member is entitled to in statutory liquidated damages, along with

 Cerebral’s submissions in support of this Notice of Removal show that the amount in

 controversy requirement of 28 U.S.C. § 1332(d)(2) is satisfied. See Dart Cherokee Basin

 Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014) (“a defendant's notice of removal need

 include only a plausible allegation that the amount in controversy exceeds the jurisdictional

 threshold”).

         D.     CAFA’s Exceptions Do Not Apply

         34.    The exceptions to removal under 28 U.S.C. section 1332(d) do not apply to this

 case.

                    VENUE, NOTICE, AND RESERVATION OF RIGHTS

         35.    The United States District Court for the Southern District of Florida is the

 appropriate venue for removal because the Circuit Court of the Eleventh Judicial Circuit Miami-

 Dade County, Florida (where the Complaint was originally filed) is within the jurisdiction of the

 Southern District of Florida. See 28 U.S.C. §§ 1391, 1441(a), and 1446(a).

         36.    In accordance with 28 U.S.C. § 1446(a), true and correct copies of all process,

 pleadings and orders served upon Cerebral are attached as Exhibit A.

         37.    Pursuant to 28 U.S.C. §§ 1446(d) and 1453, prompt written notice of this Notice

 of Removal will be sent to Plaintiff and the Clerk of Circuit Court of the Eleventh Judicial

 Circuit in and for Miami-Dade County, Florida contemporaneously with its filing in this Court.

         38.    As of the date of this Notice of Removal, Defendant has not filed a responsive

 pleading in the Action. By removing this action, Defendant does not waive any rights or



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 defenses available under state or federal law. Specifically, Defendant reserves, without

 limitation, any and all defenses supporting dismissal of the Amended Complaints, any and all

 rights to compel arbitration, and any and all grounds in opposition to class certification.

 Defendant further reserves the right to amend or supplement this Notice of Removal.

           39.    No statement in this Notice of Removal should be construed as an admission the

 Amended Complaint’s allegations have merit or are sufficient to state a claim. Similarly, no

 statement in this Notice should be deemed an admission of liability of that Plaintiff or any other

 putative class member has demanded or is entitled to relief.

           WHEREFORE, Cerebral respectfully requests that the above-referenced action,

 originally filed in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade

 County Count, Florida, be removed to this Court pursuant to 28 U.S.C. §§ 1441 and 1446, and

 1332. Defendants request that this Court retain jurisdiction for all further proceedings in this

 matter.



 Dated: May 18, 2022                           Respectfully submitted,

                                               By: /s/ Nury Siekkinen
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                                   CERTIFICATE OF SERVICE

         I certify that on May 18, 2022, a true and accurate copy of the foregoing has been

  electronically filed with the Clerk of the Court by using the CM/ECF system. I also certify that

  the foregoing document is being served this day on all counsel of record or pro se parties

  identified on the attached Service List by electronic mail.


                                                 /s/ Nury Siekkinen
                                                Nury Siekkinen (Florida Bar No. 1015937)




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